                                                United States Department of Justice

                                                United States Attorney
                                                Northern District of New York

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                                                  March 15, 2021

VIA ECF
Hon. Mae A. D’Agostino
United States District Judge
James T. Foley U.S. Courthouse
445 Broadway
Albany, NY 12207

Re:    United States v. Hilario Renato Mendoza Beltran
       Docket No. 1:16-CR-73 (MAD)

Dear Judge D’Agostino:

       The parties respectfully jointly request a sixty (60)-day adjournment of the sentencing
proceeding in the above-referenced case currently scheduled for April 2, 2021, and a
corresponding extension of the deadline to file sentencing memoranda in this case, currently
scheduled for March 15, 2021.

       The parties thank the Court for its consideration in this matter.


                                                 Respectfully submitted,

                                                  ANTOINETTE T. BACON
                                                  Acting United States Attorney


                                          By:        /s/ Emmet J. O’Hanlon
                                                  Emmet J. O'Hanlon
                                                  Assistant United States Attorney
                                                  Bar Roll No. 519779



cc:    Julio Hernandez, III, Esq. (via ECF)
